      15-00051-ee Dkt 27 Filed 08/22/16 Entered 08/22/16 14:32:39 Page 1 of 2



__________________________________________________________________
                                             SO ORDERED,



                                             Judge Edward Ellington
                                             United States Bankruptcy Judge
                                             Date Signed: August 22, 2016

              The Order of the Court is set forth below. The docket reflects the date entered.
__________________________________________________________________
             IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                     SOUTHERN DISTRICT OF MISSISSIPPI




IN RE:                                                                              CHAPTER 13
WILLIAM S. ROBERTS                                                            CASE NO. 0306146EE
SARA A. ROBERTS


JAMES L. HENLEY, JR., TRUSTEE

VS.                                                               ADVERSARY NO. 1500051EE

PATRICK C. MALOUF, AND PORTER
& MALOUF, P.A.


                          JUDGMENT ON MOTION TO DISMISS

              Consistent with the Court's Opinion dated contemporaneously herewith,

              IT IS THEREFORE ORDERED that the Motion to Dismiss (Adv. Dkt. #18) filed

by Patrick C. Malouf and Porter & Malouf, P.A. is well-taken in part and that the Chapter 13

Trustee’s claim pursuant to 11 U.S.C. § 327 found in the Complaint for Turnover of Property,

Declaratory Judgment and Equitable Relief (Adv. Dkt. #7) is hereby dismissed.

              IT IS FURTHER ORDERED that the Motion to Dismiss (Adv. Dkt. #18) filed by



                                          Page 1 of 2
    15-00051-ee Dkt 27 Filed 08/22/16 Entered 08/22/16 14:32:39 Page 2 of 2




Patrick C. Malouf and Porter & Malouf, P.A. is not well-taken in part and that the motion is hereby

denied as to the Chapter 13 Trustee’s claim pursuant to 11 U.S.C. § 521 and Federal Rule of

Bankruptcy Procedure 9019 found in the Complaint for Turnover of Property, Declaratory

Judgment and Equitable Relief (Adv. Dkt. #7).

               IT IS FURTHER ORDERED that the Court will defer ruling on the Motion to

Dismiss (Adv. Dkt. #18) filed by Patrick C. Malouf and Porter & Malouf, P.A. as to 11 U.S.C. § 542

found in the Complaint for Turnover of Property, Declaratory Judgment and Equitable Relief (Adv.

Dkt. #7) until the Court rules on the Order to Show Cause issued contemporaneously with the

Memorandum Opinion and Judgment on Motion to Dismiss.

                                    ## END OF ORDER ##




                                           Page 2 of 2
